                                    IN THE UNITED STATES DISTRICT COURT
                               FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                                            CHARLOTTE DIVISION
                                       DOCKET NO. 3:14-CR-073-FDW-DCK

               UNITED STATES OF AMERICA,                 )
                         Plaintiff,                      )
                                                         )
               v.                                        )
                                                         )                         ORDER
               MARIO LOZANO,                             )
                           Defendant.                    )
                                                         )
               __________________________________________)

                        THIS MATTER IS BEFORE THE COURT upon Defendant’s “Unopposed Motion

               To Modify Conditions Of Electronic Monitoring” (Document No. 93) filed June 26, 2014. After

               careful consideration of the motion, the Court will grant the motion.

                        IT IS, THEREFORE, ORDERED that Defendant’s “Unopposed Motion To Modify

               Conditions Of Electronic Monitoring” (Document No. 93) is hereby GRANTED.

                        IT IS FURTHER ORDERED that Defendant’s electronic monitoring be modified from

               an RF-based system to GPS electronic monitoring.

Signed: July 14, 2014




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